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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES – GENERAL         ‘O’
  Case No.        2:18-cv-02960-CAS(Ex)            Date February 11, 2019
  Title           BOOST BEAUTY, LLC. V. WOO SIGNATURES, LLC. et al.


  Present: The Honorable             CHRISTINA A. SNYDER
         Catherine Jeang                            Not Present                        N/A
          Deputy Clerk                       Court Reporter / Recorder               Tape No.
       Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                       Not Present                                     Not Present

  Proceedings:             (IN CHAMBERS) - DEFENDANT’S MOTION TO DISMISS (Dkt.
                           [ 33 ], filed November 27, 2018)

 I.   INTRODUCTION
       Before the Court is a motion to dismiss plaintiff Boost Beauty, LLC’s (“Boost
Beauty”) third amended complaint. On April 9, 2018, Boost Beauty filed this action
against defendants Woo Signatures, LLC (“Woo Signatures”), Tadeh
Booghosianssardabi, Farshid Karamzad Goflsaz, Arash Sedighi, and Does 1 through 10
(collectively, “defendants”). Dkt. 1. On June 7, 2018, plaintiff filed a first amended
complaint. Dkt 17. In response to defendants’ motion to dismiss, the Court dismissed
plaintiff’s FAC, with leave to amend, on July 23, 2018. Dkt. 25 . Plaintiff filed a second
amended complaint on August 17, 2018. Dkt. 26 (“SAC”). On October 15, 2018, the
Court dismissed two claims in plaintiff’s SAC, with leave to amend, in response to
defendants’ motion to dismiss. Dkt. 31 (“Oct. Order”). On November 13, 2018, plaintiff
filed a third amended complaint. Dkt. 32 (“TAC”).
       Plaintiff asserts the same eleven claims in its TAC as in its initial complaint: (1)
copyright infringement, in violation of the Copyright Act, 17 U.S.C. § 501 et seq.; (2)
contributory copyright infringement; (3) vicarious copyright infringement; (4) intentional
fraud, as against Sedighi; (5) breach of implied contract; (6) trademark infringement and
counterfeiting, in violation of the Lanham Act, 15 U.S.C. § 1114; (7) unfair competition
and false designation of origin, in violation of the Lanham Act, 15 U.S.C. § 1125(a); (8)
trademark infringement under California common law; (9) violation of the California
Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq.; (10)
trademark infringement by imitating and false advertising, in violation of the Lanham
Act, 15 U.S.C. §§ 1114(a)–(b); and (11) common law unfair competition and false
designation of origin. In brief, plaintiff alleges that defendants engaged in a scheme to
gain access to plaintiff’s confidential information and thereby replicate the beauty
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product that plaintiff produces, markets, and sells. Specifically, plaintiff alleges that
defendants copied its signature eyelash enhancement product by using plaintiff’s
manufacturer, by unlawfully copying plaintiff’s copyrighted online advertisement (the
“Work”), and by unlawfully using variations of the term “BoostLash,” plaintiff’s
trademarked product name (the “Mark”), as a search engine adword.
      On November 27, 2018, defendants filed the instant motion to dismiss. Dkt. 33
(“Mot.). Plaintiff filed an opposition on December 17, 2018, dkt. 34 (“opp’n”), and
defendants filed their reply on December 21, 2018, dkt. 36 (“reply”). The Court held a
hearing on February 4, 2019. Having carefully considered the parties’ arguments, the
Court finds and concludes as follows.
II.   BACKGROUND
      Plaintiff alleges the following facts.
        Plaintiff is a California limited liability company with its principal place of
business in Glendale, California. TAC ¶ 7. Woo Signatures is a California limited
liability company with its principal place of business also in Glendale, California. Id. ¶ 8.
Booghosianssardabi, Goflsaz, and Sedighi are the principals of Woo Signatures, and are
individuals residing in Los Angeles County. Id. ¶ 9.
      A.       Plaintiff’s Business
       Plaintiff alleges that it procures, advertises, distributes, and sells an eyelash
enhancement product called BoostLash. Id. ¶ 27. Plaintiff began the business in 2016
and applied for and obtained a trademark registration for the Mark. Id. ¶¶ 27, 33.
Plaintiff alleges that the Product garnered commercial success, becoming a “highly-
sought after commodity” because BoostLash is a relatively low-cost product, available to
consumers across all economic groups, which is sold online. Id. ¶¶ 28, 30.
        To market the product, plaintiff created advertisements composed of “specific
words and language in a specific order, which, as . . . plaintiff figured out, would
facilitate more end users to its website and, ultimately, to purchase the Product.” Id. ¶ 34.
In March 2018, plaintiff filed an application with the U.S. Copyright Office for copyright
registration of the advertisement, a copy of which plaintiff attached to its third amended
complaint. Id. ¶¶ 35, 36; Ex. A. The advertisement features three areas of text: the first,
across the top, states “‘Top 5’ Eyelash Growth Serums | 2018’s Best Eyelash Enhancers,”
and contains additional product attributes below; the second, on the bottom left, states

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“Product Comparison Chart,” which urges consumers to “compare performances”; and
the last, on the bottom right, states “Which is Best for You.” TAC, Ex. A. Plaintiff’s
registration application for this advertisement is pending. Id. ¶ 36.




     Exhibit A, Plaintiff’s Advertisement, for which it has applied for Copyright Registration




      B.       Defendants’ Alleged Misconduct
               i.      Sedighi’s Alleged Intentional Fraud and Woo Signatures’ Breach
                       of Implied Contract
        Plaintiff alleges that Sedighi and a principal at Boost Beauty lived together for five
years, during which time Sedighi gained confidential information about plaintiff’s
business model, strategies, product, and suppliers. Id. ¶¶ 38–41, 82–83. Plaintiff alleges
that, in November 2017, the named individual defendants unlawfully employed plaintiff’s
manufacturer to produce a competing eyelash enhancement product, called their product
a similar name, purchased the domain name for WooLash, and began selling the product.
Id. ¶¶ 43, 45. Plaintiff alleges that defendants produced their competing product despite
the fact that Sedighi agreed that any information he learned from Boost Beauty’s
principal would remain confidential, and that Sedighi would not use the information for
personal benefit without the consent of Boost Beauty’s principal. Id. ¶¶ 40, 83–84.
               ii.     Defendants’ Alleged Direct, Contributory, and Vicarious
                       Copyright Infringement
        Plaintiff avers that in November 2017, when defendants launched their competing
business, they “word for word” “copied [] plaintiff’s advertisement (but ran the
advertisement only outside of California in the hopes plaintiff would not become aware
of it).” Id. ¶¶ 43, 49. Plaintiff further alleges that defendants’ copied advertisements

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“were intentionally unlabeled and source-ambiguous in that an ordinary consumer of the
[p]roduct would not be able to tell, unless investigating closely, that the advertisement
did not belong to plaintiff.” Id. ¶ 44. Plaintiff asserts that defendants knew the Work
was an original expression owned by plaintiff, and that defendants used, republished,
distributed, and displayed the Work to the public without authorization, which has caused
plaintiff economic injury. Id. ¶¶ 51–53. Plaintiff claims contributory and vicarious
copyright infringement against all defendants. Id. ¶¶59–60, 65–67.
                iii.    Defendants’ Alleged Trademark Infringement, Counterfeiting,
                        Unfair Competition, and False Advertising
       Plaintiff also claims that in November 2017, defendants “purchased the Google
AdWords ‘boost’ and ‘lash’ together in that order as a search engine advertisement to
drive traffic to their website.” Id. ¶ 43. Plaintiff contends that defendants willfully
adopted and used in commerce a confusingly similar or identical version of the Mark
without plaintiff’s consent, and that “Defendants have engaged in acts of direct
infringement by using a sham version of the Mark to sell their products without
Plaintiff’s consent.” Id. ¶¶ 92–93. Plaintiff also alleges that such acts of direct
infringement amount to false or misleading advertising and unfair competition, and that
as a result, plaintiff has lost out on revenues. Id. ¶¶ 115–16. Plaintiff asserts that
defendants pursued this conduct in order to mislead unsophisticated consumers into
believing that defendants’ product is endorsed by plaintiff. Id. ¶¶ 29, 45. This, plaintiff
claims, would persuade consumers into purchasing defendants’ identical but competing
product instead of plaintiff’s. Id. ¶¶ 43, 45.
III.   LEGAL STANDARDS
       A motion pursuant to Federal Rule of Civil Procedure 12(b)(6) tests the legal
sufficiency of the claims asserted in a pleading. Under this Rule, a district court properly
dismisses a claim if “there is a ‘lack of a cognizable legal theory or the absence of
sufficient facts alleged under a cognizable legal theory.’” Conservation Force v. Salazar,
646 F.3d 1240, 1242 (9th Cir. 2011) (quoting Balisteri v. Pacifica Police Dep’t, 901 F.2d
696, 699 (9th Cir. 1988)). “[A]llegations in a complaint . . . may not simply recite the
elements of a cause of action, but must contain sufficient allegations of underlying facts
to give fair notice and to enable the opposing party to defend itself effectively.” Starr v.
Baca, 652 F.3d 1202, 1216 (9th Cir. 2011). “While a complaint attacked by a Rule
12(b)(6) motion to dismiss does not need detailed factual allegations, a plaintiff’s
obligation to provide the ‘grounds’ of his ‘entitlement to relief’ requires more than labels

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and conclusions, and a formulaic recitation of the elements of a cause of action will not
do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). “[F]actual allegations
must be enough to raise a right to relief above the speculative level.” Id.
       In considering a motion pursuant to Rule 12(b)(6), a court must accept as true all
material allegations in the pleading, as well as all reasonable inferences to be drawn from
them. Pareto v. FDIC, 139 F.3d 696, 699 (9th Cir. 1998). The pleading must be read in
the light most favorable to the nonmoving party. Sprewell v. Golden State Warriors, 266
F.3d 979, 988 (9th Cir. 2001). However, “a court considering a motion to dismiss can
choose to begin by identifying pleadings that, because they are no more than conclusions,
are not entitled to the assumption of truth. While legal conclusions can provide the
framework of a complaint, they must be supported by factual allegations.” Ashcroft v.
Iqbal, 556 U.S. 662, 679 (2009); see Moss v. United States Secret Service, 572 F.3d 962,
969 (9th Cir. 2009) (“[F]or a complaint to survive a motion to dismiss, the non-
conclusory ‘factual content,’ and reasonable inferences from that content, must be
plausibly suggestive of a claim entitling the plaintiff to relief.”). Ultimately,
“[d]etermining whether a complaint states a plausible claim for relief will . . . be a
context-specific task that requires the reviewing court to draw on its judicial experience
and common sense.” Iqbal, 556 U.S. at 679.
       Unless a court converts a Rule 12(b)(6) motion into a motion for summary
judgment, a court cannot consider material outside of the pleading (e.g., facts presented
in briefs, affidavits, or discovery materials). In re American Cont’l Corp./Lincoln Sav. &
Loan Sec. Litig., 102 F.3d 1524, 1537 (9th Cir. 1996), rev’d on other grounds sub nom
Lexecon, Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26 (1998). A court
may, however, consider exhibits submitted with or alleged in the complaint and matters
that may be judicially noticed pursuant to Federal Rule of Evidence 201. In re Silicon
Graphics Inc. Sec. Litig., 183 F.3d 970, 986 (9th Cir. 1999); Lee v. City of Los Angeles,
250 F.3d 668, 689 (9th Cir. 2001).
       As a general rule, leave to amend a complaint which has been dismissed should be
freely granted. Fed. R. Civ. P. 15(a). However, leave to amend may be denied when “the
court determines that the allegation of other facts consistent with the challenged pleading
could not possibly cure the deficiency.” Schreiber Distrib. Co. v. Serv-Well Furniture
Co., 806 F.2d 1393, 1401 (9th Cir. 1986).




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IV.   DISCUSSION
      In their third motion to dismiss, defendants move to dismiss plaintiff’s copyright
claims and its claim for counterfeiting. Mot. at 1.
      A.       Plaintiff’s Copyright Claims
       To state a claim for copyright infringement, “two elements must be proven: (1)
ownership of a valid copyright, and (2) copying of constituent elements of the work that
are original.” Feist Publications, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991).
The second element contains two parts: “copying” and “unlawful appropriation.”
Rentmeester v. Nike, Inc., 883 F.3d 1111, 1117 (9th Cir. 2018) (dismissing a plaintiff’s
copyright claims on a motion to dismiss because the allegedly infringing work was not
substantially similar to the copyrighted work). Plaintiffs must allege both components
because “independent creation is a complete defense to copyright infringement,” and
because “a defendant incurs no liability if he copies only the ‘ideas’ or ‘concepts’ used in
the plaintiff's work. To infringe, the defendant must also copy enough of the plaintiff's
expression of those ideas or concepts to render the two works ‘substantially similar.’” Id.
(citing Mattel, Inc. v. MGA Entertainment, Inc., 616 F.3d 904, 913–14 (9th Cir. 2010)).
Accordingly, “the second Feist prong, regarding copying of constituent elements of an
original work, requires plaintiffs to allege ‘that the works at issue are substantially similar
in their protected elements.’” Blizzard Entm't, Inc. v. Lilith Games (Shanghai) Co., 149
F. Supp. 3d 1167, 1172–73 (N.D. Cal. 2015) (citing Cavalier v. Random House, Inc., 297
F.3d 815, 822 (9th Cir. 2002))
       In its second amended complaint, plaintiff did not attach a copy of defendant’s
infringing work, but alleged that “Defendant[s] willfully misappropriated information
from Plaintiff, . . . copied Plaintiff’s advertisement and made their advertisement non-
descript so that when the consumer of the Product . . . does a search for BoostLash®,
intending to find Plaintiff’s website, they are instead directed to Defendant’s website.”
SAC ¶ 45. The Court previously acknowledged that plaintiff was not legally obligated to
attach a copy of defendant’s infringing work to state a claim for copyright infringement.
Oct. Order at 8 (citing 3 Nimmer on Copyright § 12.09 (2018)). However, the Court
found that plaintiff failed to state a claim because plaintiff failed to allege sufficient facts
to claim substantial similarity between plaintiff’s work and defendants’ infringing work.
As it explained, the Court failed to understand how a “non-descript” advertisement could
constitute a word-for-word copy of original work, subject to a valid copyright. Id.
However, the Court granted leave to amend because, at oral argument, plaintiff

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represented that it would amend its complaint and attach a copy of defendants’ infringing
work within twenty-one days.
       In its third amended complaint, plaintiff still did not attach a copy of defendants’
infringing work. Instead, plaintiff amended some of its allegations. Specifically, in its
Third Amended Complaint, plaintiff now claims that defendants copied plaintiff’s
advertisement, and
      plaintiff is informed and believes, and thereon alleges that the information
      surrounding the expression defendants copied from the plaintiff (the balance of the
      advertisement) were intentionally unlabeled and source-ambiguous in that an
      ordinary consumer of the Product would not be able to tell, unless investigating
      closely, that the advertisement did not belong to Plaintiff.
TAC ¶ 44. Plaintiff further alleges that defendants copied plaintiff’s work “word for
word.” Id. ¶ 49.
      Defendants moved to dismiss the claim, arguing that plaintiff “has failed to attach
or even describe with any specificity the purported infringement.” Mot. at 3. Defendants
contended that they required more particularized allegations “to know whether the works
are substantially similar.” Id.
       At oral argument, the Court inquired as to why plaintiff had once again failed to
file the allegedly infringing work, and plaintiff responded that it would file the infringing
work that day. Subsequently, plaintiff filed a supplemental declaration, which contained
a copy of defendants’ allegedly infringing work. See Dkt. 40. Now in receipt of the
allegedly infringing work, the Court finds that plaintiff’s allegations sufficiently notify
defendants of the allegedly infringing conduct, and accordingly state a claim for
copyright infringement. While, “[o]n a motion to dismiss, the court may decide as a
matter of law ‘[w]hether there is sufficient objective similarity under the extrinsic test,’”
the Court here declines to conduct this analysis. Sugarfina, Inc. v. Sweet Pete's LLC, No.
17-CV-4456-RSWL-JEM, 2017 WL 4271133, at *7 (C.D. Cal. Sept. 25, 2017). Given
plaintiff’s delayed filing of the allegedly infringing work, the Court finds that this issue is
better decided on a motion for summary judgment, when the issue has been briefed.
      B.       Plaintiff’s Claim for Counterfeiting
      In plaintiff’s sixth claim for relief, plaintiff alleges federal trademark infringement
and counterfeiting in violation of 15 U.S.C. § 1114. The Court previously denied

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defendants’ motion to dismiss plaintiff’s trademark infringement claim. Oct. Order at 11.
However, the Court found that plaintiff failed to state a claim for counterfeiting. Id. at
12.
       In its TAC, plaintiff alleges that “[d]efendants have adopted and used in commerce
identical or confusingly similar versions of the Mark without Plaintiff’s consent, by way
of using a sham copy of the Mark to sell their product.” TAC ¶ 92. Plaintiff argues that
this states a claim for counterfeiting under the Lanham Act based on defendants alleged
use of “an identical but unauthorized, replication of Plaintiff’s Mark to sell Defendants’
knock-off products” by employing plaintiff’s mark as a GoogleAd word. Opp’n at 9.
       Defendants argue that plaintiff’s allegations fail to state a claim for counterfeiting.
Mot. at 5. Defendants contend that “no factual allegations are pled to show that
Defendants used Plaintiff’s registered trademark on [a] counterfeit product. To the
complete contrary, the entire gravamen of the claim is that Defendants are selling a
different, competing product under the different name ‘WooLash.’” Id. In response,
plaintiff argues that it need not allege that “a counterfeit mark [is] affixed to a product to
constitute counterfeiting.” Opp’n at 9.
        “Counterfeiting is the act of producing or selling a product with a sham trademark
that is an intentional and calculated reproduction of the genuine trademark. A
‘counterfeit mark’ is a false mark that is identical with, or substantially indistinguishable
from, the genuine mark.” 4 J. Thomas McCarthy, McCarthy on Trademarks and Unfair
Competition § 25:10 (5th ed. 2018) (emphasis added). A counterfeit mark for purposes
of 15 U.S.C. § 1117(c) is “a counterfeit of a mark that is registered on the principal
register in the United States Patent and Trademark Office for such goods or services sold,
offered for sale, or distributed and that is in use, whether or not the person against whom
relief is sought knew such mark was so registered.” 15 U.S.C. § 1116(d)(1)(B)(i) (West).
       “To succeed on a claim of trademark counterfeiting, Plaintiff must establish that:
(1) Defendants intentionally used a counterfeit mark in commerce; (2) knowing the mark
was counterfeit; (3) in connection with the sale, offer for sale, or distribution of goods;
and (4) its use was likely to confuse or deceive.” SATA GmbH & Co. Kg v. Wenzhou
New Century Int'l, Ltd., No. CV 15-08157-BRO (EX), 2015 WL 6680807, at *5 (C.D.
Cal. Oct. 19, 2015) (citing State of Idaho Potato Comm'n v. G & T Terminal Pkg., Inc.,
425 F.3d 708, 721 (9th Cir. 2005)). For the purposes of 15 U.S.C. § 1117, the Ninth
Circuit has further required that “the mark in question be (1) a non-genuine mark
identical to the registered, genuine mark of another, where (2) the genuine mark was

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registered for use on the same goods to which the infringer applied the mark.” Louis
Vuitton Malletier, S.A. v. Akanoc Sols., Inc., 658 F.3d 936, 945-46 (9th Cir. 2011)
(emphasis added).
       At oral argument, the Court requested plaintiff to clarify in what capacity
defendants have allegedly used plaintiff’s Mark to sell defendants’ products, and whether
plaintiff alleges that defendants are attaching “BoostLash” to defendants’ products. As
indicated in its brief, plaintiff confirmed that its claim is predicated on defendants’
alleged use of plaintiff’s Mark as a GoogleAd word. Plaintiff further stated that it did not
allege that defendants were attaching plaintiff’s Mark to defendants’ competing product.
Plaintiff argued, however, that under Network Automation, Inc. v. Advanced Systems
Concepts, Inc., 638 F.3d 1137 (2010), defendants’ alleged use of plaintiff’s mark as a
search engine term gives rise to a counterfeiting claim. Plaintiff is wrong.
       Counterfeiting is “[t]he unlawful forgery, copying, or imitation of an item.”
COUNTERFEITING, Black's Law Dictionary (10th ed. 2014). As the Ninth Circuit has
explained, a “counterfeit is something that purports to be something that it is not.”
United Pac. Ins. Co. v. Idaho First Nat. Bank, 378 F.2d 62, 69 (9th Cir. 1967). At the
heart of counterfeiting, then, is a good that has been copied and which has been sold,
offered for sale, or distributed with a counterfeit mark. Moreover, to succeed on a
counterfeiting claim, a registered mark must have been registered with regard to “the
same goods to which the infringer applied the mark.” Louis Vuitton Malletier, 658 F.3d
at 945–46 (emphasis added). A defendant must allegedly have “applied the mark” to its
product to engage in counterfeiting. See, e.g., Gibson Brands, Inc. v. John Hornby
Skewes & Co., No. CV1400609DDPSSX, 2016 WL 7479317, at *6 (C.D. Cal. Dec. 29,
2016) (holding that the defendant “cannot be held liable for counterfeiting [plaintiff’s]
marks because every allegedly infringing guitar ...bears [defendant’s] trade name, and
there is no evidence that they are counterfeits of [plaintiff’s products] body shapes or
headstocks”); Idaho Potato Commn, 425 F.3d at 721 (affirming a finding of
counterfeiting where the defendant purchased empty potato bags containing plaintiff’s
marks and then packaged their own potatoes into those bags); SATA GmbH, 2015 WL
6680807, at *5 (issuing an injunction where defendant had etched plaintiff’s mark on
fake paint canisters). 1

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       Plaintiff argued that it could not be required to allege that defendant affixed
plaintiff’s Mark to the product because, if that were the case, the holder of a service mark
could never allege counterfeiting. Opp’n at 9. The Court finds this argument inapposite:
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       Here, while plaintiff claims that defendants “sold the exact same, but competing,
product” – namely eyelash enhancement serum—plaintiff has confirmed that it does not
allege that defendants have applied plaintiff’s Mark to the product. TAC ¶ 43. Plaintiff’s
claim is predicated on defendants’ alleged use of plaintiff’s mark as an internet search
term. As a matter of law, this does not constitute counterfeiting.
       Network Automation does not hold otherwise. As this Court explained when it
denied defendants’ motion to dismiss plaintiff’s trademark infringement claim, Network
Automation held that “the use of a trademark as a search engine keyword that triggers the
display of a competitor's advertisement is a ‘use in commerce’ under the Lanham Act.”
638 F.3d at 1144. The Ninth Circuit thus recognized that a trademark infringement claim
could be predicated on the unauthorized use of a trademark as a search engine term. Id.
However, despite the fact that the defendant in Network Automation openly
acknowledged that it used an exact replica of the plaintiff’s trademark as a search term
(the term “ActiveBatch”), the Network Automation court did not suggest, much less find,
that this conduct could give rise to a counterfeiting claim. It could give rise to a
trademark infringement claim. “To find that anything less than an ‘identical’ or
‘substantially indistinguishable’ product can give rise to a counterfeit claim would risk


plaintiff is not the holder of a service mark. However, the Court notes that at least one
out-of-circuit district court has held that there is “no statutory requirement that the
counterfeit mark be placed on the product itself.” Tiffany & Co. v. Costco Wholesale
Corp., 127 F. Supp. 3d 241, 255 (S.D.N.Y. 2015). That case is not binding on this Court,
and its facts are clearly distinguishable. In Tiffany & Co., the defendant replicated
engagement rings produced and marketed by the plaintiff, the jewelry company Tiffany’s
& Co.. Id. The defendant then sold the rings out of a display case showcasing the
Tiffany mark. Id. In light of this, and after finding that the defendant acted in bad faith,
the Tiffany & Co. court found that the plaintiff established trademark counterfeiting as a
matter of law despite the fact that the defendant had not stamped the rings themselves
with Tiffany and Co.’s registered mark. Id. In contrast to the allegations in Tiffany &
Co., here, plaintiff does not allege that defendants displayed plaintiff’s mark alongside
defendants’ product as a means of “trick[ing] the consumer into believing he or she is
getting the genuine article, rather than a ‘colorable imitation.’” Gibson Brands, 2016 WL
7479317, at *5 (citing Gucci Am., Inc. v. Guess?, Inc., 868 F. Supp. 2d 207, 242
(S.D.N.Y. 2012)). Plaintiff alleges that defendants purchased online search engine terms,
which a consumer would never see.

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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL         ‘O’
     Case No.        2:18-cv-02960-CAS(Ex)            Date February 11, 2019
     Title           BOOST BEAUTY, LLC. V. WOO SIGNATURES, LLC. et al.

rendering ‘all trademark infringement claims . . . counterfeiting claims,’ and, along with
it, open up the wider range of statutory penalties and remedies.” Gibson Brands, 2016
WL 7479317, at *7 (C.D. Cal. Dec. 29, 2016) (citing Adams v. Grand Slam Club/Ovis,
No. 12-CV-2938-WJM-BNB, 2013 WL 1444335, at *7 (D. Colo. Apr. 9, 2013)).
       In sum, the Court finds that plaintiff fails to state a claim for counterfeiting.
Generally, leave to amend a complaint which has been dismissed should be freely
granted. Fed. R. Civ. P. 15(a). However, a “court may exercise its discretion to deny
leave to amend due to ‘undue delay, bad faith or dilatory motive on part of the movant,
repeated failure to cure deficiencies by amendments previously allowed, undue prejudice
to the opposing party . . . , [and] futility of amendment.’” Carvalho v. Equifax Info.
Servs., LLC, 629 F.3d 876, 892–93 (9th Cir. 2010) (quoting Foman v. Davis, 371 U.S.
178, 182 (1962)). In light of the fact that plaintiff has failed to state a claim for
counterfeiting on three occasions, and in light of plaintiff’s representations that plaintiff
does not allege that defendants applied plaintiff’s mark to their product, the Court finds it
appropriate to deny leave to amend in this case. Accordingly, plaintiff’s counterfeiting
claim is DISMISSED with prejudice.
         C.       Sanctions
       In its opposition to defendants’ motion to dismiss the third amended complaint,
plaintiff argues that defendants should be sanctioned, under 28 U.S.C. § 1927, because
defendants’ motion “is not supported by evidence or law.” Opp’n at 10. Plaintiff is in
error. Defendants’ motion cited numerous legal authorities, and defendants accurately
recognized that plaintiff failed to timely amend its complaint with the documents
requested by the Court. Defendants’ motion did not “unreasonably and vexatiously”
“multipl[y] proceedings” in this case. 28 U.S.C.A. § 1927 (West). Plaintiff’s request is
DENIED.
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V.    CONCLUSION
      For the foregoing reasons, defendants’ motion to dismiss plaintiff’s copyright
claim is DENIED. Plaintiff’s sixth cause of action for counterfeiting is DISMISSED
with prejudice.
      IT IS SO ORDERED.
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                                               Initials of Preparer        CMJ




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